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 1

 2
                     IN THE CIRCUIT COURT OF THE STATE OF OREGON
 3
                                FOR THE COUNTY OF JACKSON
 4

 5   In the Matter of:

 6   HEIDI MARIE BROWN,                               Case No. 22DR17285

 7                        Petitioner,                 MOTION FOR ORDER FOR
                                                      DISQUALIFICATION OF JUDGE
            and                                       BLOOM AND SUPPORTING
 8
     ARNAUD PARIS,                                    AFFIDAVIT
 9
                                                      ORAL ARGUMENT REQUESTED
10                        Respondent, Pro Per.        WITH REMOTE APPEARANCE OF
                                                      RESPONDENT WHO IS A PRO PER
11                                                    PARTY LIVING IN FRANCE

12

13          I, Arnaud Paris, Respondent, Pro Per, in the above-captioned case, moves this

14   court for an order for the disqualification of Judge Bloom in this matter as the Medford

15   District Attorney Beth Heckert recently raised concern about Judge Bloom and Judge

16   Orr judicial misconduct and lack of impartiality in the Jackson County proceedings.

17          Judge Bloom has also previously shown in the related case 23CN05721 a clear

18   bias against Respondent by denying him the disqualification of Judge Orr while there

19   was clear and solid evidence that Judge Orr had been judicially biased and prejudiced

20   against Respondent (going as far as making improper xenophobic jokes against the

21   French and the French judicial system in open court with the opposite party's counsel.)

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 1   STATEMENT AND POINTS OF AUTHORITIES:

 2          ORS 14.250 states that:

 3   "No judge of a circuit court shall sit to hear or try any suit, action, matter or proceeding

 4   when it is established, as provided in ORS 14.250 (Disqualification of iudqe) to 14.270

 5   (Time of making motion for change of ;udqe in certain circumstances). that any party or

 6   attorney believes that such party or attorney cannot have a fair and impartial trial or

 7   hearing before such judge. In such case the presiding judge for the judicial district shall

 8   forthwith transfer the cause, matter or proceeding to another judge of the court, or apply

 9   to the Chief Justice of the Supreme Court to send a judge to try it; or, if the convenience

10   of witnesses or the ends of justice will not be interfered with by such course, and the

11   action or suit is of such a character that a change of venue thereof may be ordered, the

12   presiding judge may send the case for trial to the most convenient court; except that the

13   issues in such cause may, upon the written stipulation of the attorneys in the cause

14   agreeing thereto, be made up in the district of the judge to whom the cause has been

15   assigned. [1955 c.408 §1(1); 1981 c.215 §5; 1987 c.338 §1; 1995 c.781 §28]"

16          ORS 14.260 states that:

17   •~ny party to or any attorney appearing in any cause, matter or proceeding in a circuit

18   court may establish the belief described in ORS 14.250 (Disqualification of iudqe) by

19   motion supported by affidavit that the party or attorney believes that the party or

20   attorney cannot have a fair and impartial trial or hearing before the judge, and that it is

21   made in good faith and not for the purpose of delay. No specific grounds for the belief

22   need be alleged. The motion shall be allowed unless the judge moved against, or the

23   presiding judge for the judicial district, challenges the good faith of the affiant and sets
                                                   2
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 1   forth the basis of the challenge. In the event of a challenge, a hearing shall be held

 2   before a disinterested judge. The burden of proof is on the challenging judge to

 3   establish that the motion was made in bad faith or for the purposes of delay."

 4          ORS 14.270 states that:

 5   "An affidavit and motion for change of judge to hear the motions and demurrers or to try

 6   the case shall be made at the time of the assignment of the case to a judge for trial or

 7   for hearing upon a motion or demurrer."

 8

 9   DECLARATION AND AFFIDAVIT FROM RESPONDENT:

10          On January 3rd 2024, I, Arnaud Paris, Respondent, Pro Per, filed a motion for

11   disqualification of Judge Orr in the related case 23CN05721 based on substantiated

12   evidence, including court transcripts, that Judge Orr was so biased against me in open-

13   court to the point of making improper jokes about French people and the French judicial

14   system while Respondent is a French National and brought in front of this court a

15   French judgment that the court rejected while refusing me due process. (See attached

16   Exhibit 01, Motion for Disqualification of Judge Orr from January 3rd 2024 filed in
17
     related case 23CN05721 ).
18
            Judge Orr had just been assigned to this new case 23CN05721 and in light of the
19
     evidence presented in the motion for disqualification filed on January 3rd with the
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     Jackson County court, I had clear ground to believe that I wouldn't be given a "fair and
21
     impartial trial or hearing".
22
            The decision by Judge Bloom to deny the motion for disqualification without
23
     substantive justification not only contravenes ORS 14.250 but also sets a concerning
                                                  3
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 1   precedent for the disregard of legal standards and procedural fairness. This was

 2   particularly troubling and concerning in light of the clear denial of due process and the

 3   judicial bias that took place already in Jackson County through Judge Orr. The absence

 4   of a reasoned explanation by Judge Bloom or reference to applicable law in his denial

 5   undermines the judiciary's responsibility to operate within the bounds of established

 6   legal frameworks.

 7          After having felt that both Judge Orr and Judge Bloom were showing judicial bias

 8   and were prejudiced against me I find concerning that the Medford District Attorney

 9   Beth Heckert has been expressing the same concerns regarding their lack of impartiality

10   and their judicial misconduct over the years. See attached Exhibit 02, article from the

11   Rogue Valley Times on April 27 th , 2024. I don't feel that I will have a fair trial with Judge

12   Bloom in this matter and I would like to disqualify Judge Bloom under ORS 14.250 and

13   ORS 14.260 for all the reasons stated above and the following grounds:

14

15   GROUNDS FOR DISQUALIFICATION OF JUDGE BLOOM:

16      •   His denial Lacked Statutory Basis: ORS 14.250 does not provide explicit

17          grounds for a judge to reject a motion for disqualification without a substantive
18          legal basis. The absence of a detailed denial from Judge Bloom indicated a

19          procedural oversight and a deviation from the principles of law.

20      •   Requirement for Legal Justification: A mere denial without citing specific legal

21          reasons is insufficient and undermines the procedural integrity of the court. The
22          law mandates that decisions, especially denials of motions for disqualification, be

23          grounded in clear legal rationale per ORS 14.260.
                                                  4
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        •   Insufficiency of Grounds for Denial: The denial of the motion without

 2          addressing the cited reasons for disqualification suggested an insufficiency of

 3          grounds, making the denial procedurally defective per ORS 14.260.

 4      •   Non-Compliance with Disqualification Law: By not following the clear

 5          mandate of ORS 14.250 and ORS 14.260 regarding disqualification, Judge

 6          Bloom has not adhered to the statutory requirement, raising concerns about his

 7          impartiality and respect of my fair trial rights.

 8      •   Procedural Protection and Application of Law: Judge Bloom's refusal to

 9          engage with the motion's arguments or to apply the law as required constitutes a

10          failure to provide the most basic procedural protections to me, a Pro Per party.

11      •   Judge Bloom and Judge Orr judicial misconduct complaint from DA: The

12          Medford District Attorney Beth Heckert recently raised concern about Judge

13          Bloom and Judge Orr judicial misconduct and lack of impartiality in the Jackson

14          County proceedings. She even filed a complaint in that regards.

15

16   CONCLUSIONS AND PRAYERS FOR RELIEF:

17          For all these reasons Father, Respondent Pro Per, believes that the

18   disqualification of Judge Bloom is necessary and required in this matter since Father

19   cannot have a fair and impartial trial under ORS 14.250 and ORS 14.260. Therefore,

20   Father asks that the "presiding judge for the judicial district shall forthwith transfer the

21   cause, matter or proceeding to another judge of the court, or apply to the Chief Justice

22   of the Supreme Court to send a judge to try it." (ORS 14.250). Since Judge Bloom is the

23   Presiding Judge then the court should apply to the Chief Justice of the Supreme Court
                                                       5
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 1   to send a judge to try it.

 2          I hereby declare that the above statement is true to the best of my knowledge

 3   and belief, and that I understand it is made for use as evidence in court and is subject to

 4   penalty for perjury of the laws in the state of Oregon.

 5

 6          Prepared and filed by efile from Paris, France on May 15th 2024

 7



 :   By:~
     ARNAUD PARIS, Respondent, Pro Per
10   13 rue Ferdinand Duval,
     75004, PARIS, FRANCE
11   Telephone: +33688283641
     Email: aparis@sysmicfilms.com
12

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 1
                                     CERTIFICATE OF SERVICE
 2
        I hereby certify that I served the foregoing MOTION FOR ORDER FOR
 3      DISQUALIFICATION OF JUDGE BLOOM AND SUPPORTING AFFIDAVIT
        on the following party:
 4
                                            Heidi Marie Brown
                                             2256 Abbott Ave
 5
                                           Ashland, OR 97520
 6                                       heidimparis@gmail.com
                                            Petitioner, Pro Per
 7   By the following method or methods:

 8         by mailing full, true, and correct copies thereof in sealed, first class postage
     prepaid envelopes, addressed to the attorneys(s) as shown above, the last known office addre s of
 9   the attorney(s), and deposited with the United States Postal Service at Portland, Oregon on the date
     set forth below.
10
     X   by emailing full, true, and correct copies thereof to the to the pro se party at the email ad
     shown above, which is the last known email address for the Petitioner on the date set forth bel
11
          by faxing full, true, and correct copies thereof to the attorney(s) at the fax number(s)
12   shown above, which is the last known fax number for the attorney(s) office, on the date set fort
     below. The receiving fax machines were operating at the time of service and the transmission
13   properly completed.

            by selecting the individual(s) listed above as a service contact when preparing this electr nic
14   filing submission, thus causing the individual(s) to be served by means of the court's electroni filing
     system.
15
     Prepared in Paris, France on May 15th , 2024
16



        ~~
17

18
     By:_
19   ARNAUD PARIS, Respondent Pro Per
     13 rue Ferdinand Duval, 75004, PARIS, FRANCE
20   Telephone: +33688283641 - Email: aparis@sysmicfilms.com

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                                                    7
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